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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


FORD MOTOR COMPANY and
FORD GLOBAL TECHNOLOGIES, LLC                         Case No. 17-12906

         Plaintiffs,                                  Honorable Nancy G. Edmunds

v.

LAUNCH TECH CO. LTD. and
LAUNCH TECH (USA), INC.

         Defendants.
                                          /


 ORDER REGARDING PROCEDURES FOR PRELIMINARY INJUNCTION HEARING

      This matter has been scheduled for a hearing on Plaintiffs’ motion for preliminary

injunction on July 12, 2018 at 10:00 a.m. Such hearings, in the experience of the Court,

are often comparable to non-jury trials, and counsel are thus directed to attend to the

following instructions:

1) Responsibility of Plaintiffs’ counsel:

      Plaintiffs’ counsel must convene a meeting of all attorneys, as soon as can practically

be done, to discuss and resolve the issues noted herein. Such meeting may, in the

discretion of counsel, be by telephone if all purposes of this order can be effectively dealt

with through such means.

2) Exhibits: Examining, Pre-marking, and Listing

      a) Counsel must identify in separate lists and exchange with opposing counsel each

exhibit and each deposition proposed as an exhibit. "Exhibit" includes items which a party

will introduce and items which a party may introduce.
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     b) Counsel must promptly notify each other of any objections to the admissibility of

a proposed exhibit that has not already been addressed by the Magistrate Judge and the

basis of the objection.

     c) Agreed-upon exhibits and depositions shall be considered admitted at the outset

of the hearing and may be used by either party at any time.

     d) All exhibits must be marked by counsel in advance of the hearing. Counsel must

not use court time asking the court reporter to mark exhibits. Plaintiffs will use exhibit

markers beginning with 101, and Defendants will use numbers beginning with 501. In the

event that an extraordinary number of exhibits are involved, counsel should discuss and

decide upon a reasonable alteration of the above numbering system.

3) Filing or Submitting to Chambers Stipulated Exhibits, Depositions, and Other
Matters

     a) On or before June 1, 2018, Plaintiffs and Defendants shall each file:

         i) A list of the witnesses you intend to call, if any, with a brief statement
         of the proposed testimony (one or two sentences) and an estimate of the
         time to be consumed in direct and cross examination as to each.

     b) On or before June 8, 2018, Plaintiffs and Defendants must:

         i) File a joint list of exhibits and depositions ("Joint Exhibit List"). Each
         exhibit and each deposition that is not agreed to by the parties must be
         followed by a notation near the right margin of the page entitled
         "Objection:"; this notation shall be followed by a brief statement
         describing the nature or basis of the opposing party's objection that has
         not already been addressed by the Magistrate Judge;

         ii) File any motions in limine; and

         iii) Submit to the Court in chambers copies of the exhibits themselves,
         unless the bulk or other considerations make such submission
         impractical, and copies of the agreed-upon deposition testimony identified
         in the listing ordered above.


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     SO ORDERED.



               s/Nancy G. Edmunds
               Nancy G. Edmunds
               United States District Judge

Dated: May 10, 2018

I hereby certify that a copy of the foregoing document was served upon counsel of record
on May 10, 2018, by electronic and/or ordinary mail.

               s/Lisa Bartlett
               Case Manager




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